,.ROB_,Z Case 2:02-cr-20417-SH|\/| Document 103 Filed 06/02/05 Page 10f5 Page|D 135

 

(Rev. 3!88)
UNITED sTATEs DISTRICT COURT mm m 35
for
05 JUN -2 AH 8= 142
WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION gwen g D; mg
U.S.A. vs. NICoLE wRIGHT Docke Jl \ ll - ` 03
, _Jl t \.`

Petition on Probation and Supervised Release

COMES NOW FREDD]E MCMASTER II PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Nicole Wri ght who was placed on supervision by the Honorable
Samuel H. Mays, Jr. sitting in the Court at Memphis, TN on the _Z__rg day of May, 2003 who fixed the period of
supervision at one year*, and imposed the general terms and conditions theretofore adopted by the court and also
imposed special conditions and terms as follows:
The defendant shall pay restitution, jointly and severally, in the amount of $342.32 (balance $342.32).
The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation
officer for treatment of narcotic addiction or drug/alcohol dependency which may include testing for the detection
of substance use or abuse.
The defendant shall participate as directed in a program of mental health treatment approved by the probation ollicer.

The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making
an obligation for any major purchases without approval of the probation officer.

The defendant shall obtain her General Educationa] Development Diploma (G.E.D.)
The defendant shall seek and maintain lawful full-time employment
The defendant shall provide the probation office access to any requested financial information

*Probation began on May 2, 2003, and was revoked on May 10, 2004, with a prison sentence of three (3) months
(held in abeyance) and a six (6) month term of Supervised Release with the same conditions previously imposed

* *Supervised Release which began May 10, 2004, was revoked December l 5, 2004, with a sentence of time served
and a new six (6) month period of Supervised Release with the additional special condition:

The defendant shall serve three (3) months halfway house confinement
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)

PRAYING THAT THE COURT WILL ORDER a Summons be issued for Ms. Wright to appear before the
Honorable Samuel H. Mays, Jr. to answer charges of violation of Supervised Release.

 

ORDER OF COURT I declare under penalty of perjury that the foregoing
f $,J_ is true and correct.
Cons`dered and (s)rdered this day
of “""" , 20__ and ordered filed and Executed on m &0, 3005
made a part <jh<e?cords in the above case. (\,~ ' 11
U.S. Probation Offrcer

 

United States District Judge

Place: Memphis, Tennessee
\ /@3

Thls document entered on the dockets
with Fiute 55 and/or aa(b) FHCrP on

  

PROB 12 Case 2:02-cr-20417-SH|\/| Document 103 Filed 06/02/05 Page 2 of 5 Page|D 136
Wright, Nicole

Docket No. 2:02CR20417-003

Page 2

RESPECTFULLY PRESENTING PETITION F()R ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall not commit another federal, state, or local crime.

On May 9, 2005 , a letter Was sent to Ms. Wright instructing her to report to the U.S. Probation Office on May 2(),
2005, to provide a blood sample for DNA collection purposes On May 20, 2005, she informed this officer she could
not report as instructed Failure to provide a DNA sample is a Class A misdemeanor.

The defendant shall serve three (3) months halfway house confinement

Arrangements were made for Ms. Wright to report to Diersen Charities Halfway House on February 15, 2005. She
failed to complete the orientation/intake process and Was discharged the same day she reported to the facility.

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Ms. Wright used a controlled substance as evidenced by positive screens for marijuana on December 17, 2004, and
February 15, 2005.

Case 2:02-cr-20417-SHWR§)EAUB§OK/B¥p££l§ll§g% Page 3 of 5 Page|D 137

 

 

 

 

1. Defendant Nicole Wright 3421 Winchester Pl. #4 Memnhis, TN 38116
2. Docket Number (Year-Sequence-Defendant No.) 2:02CR2041 7-003
3. Districthftice Westem District of Tennessee (Memphis)
4. Original Sentence Date 05 02 03
month day year

(dej"erent than above).'
5. Original Districthffice

 

6. Original Docket Number (Year-Sequence~Defendant No.)

 

7. List each violation and determine the applicable grade {§_e_e_ §7Bl.1}:
Violation{s} _(_}__@
Criminal law violation: Failure to provide DNA sample
Possession/usage of controlled substance: marijuana C

Failure to complete 3 months community confinement

 

8. Most Serious Grade of Violation (E §7Bl.1(b) C
9. Criminal History Category (s£g §7B1.4(a))74 l

  

10. Range of imprisonment (Y_e §7B1.4(a)) 3-9 months*
*Being originally convicted of a Class D felony, the statutory maximum term of imprisonment is 24 months; 18 U.S.C. §3583(¢)(3).

l i. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{X} (a)If the minimum term of imprisonment determined under §'TBl .4(Term of Impn`sonment) is at least one month
but not more than six months, §7B1.3(c) ( 1) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §7B l .4(Term of Imprisonment) is more than six
months but not more than ten months, §']B 1 .3 (c) (2) provides sentencing options to imprisonment

{ } (c)lf the minimum term of imprisonment determined under §7B1.4(Term of lmprisonment) is more than ten
months, no sentencing options to imprisonment are available.

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenuc, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

Case 2:02-cr-20417-SH|\/| Document 103 Filed 06/02/05 Page 4 of 5 Page|D 138
Defendant Nicole Wright 2:02CR20417~003

 

12. Unsatisfied Cunditions of Original Senteuce

List any restitution, tine, community confinement, home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {s§§ §7Bl .3(d)}:

 

 

 

 

Restitution ($) §342.32 Community Coniinement 89 davs
Fine ($) N/A Home Detention N/A
Other NfA lntermittent Confinement N/A

 

 

13. Supervised Release

lf probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§SD! .1-1.3{@

§§7131-3(§)(1)}-
Term: N/A to N/A years

If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {B 18 U.S.C. §3583(e) and §7Bl .3(g)(2)}.

Period of supervised release to be served following release from imprisonment

14. Depa rtu re

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

Pursuant to §7Bl ,3(d) any community confinement previously imposed that remains unserved at the time of
revocation may be served in addition to the sanction determined under §7B1.4. Thus, the adjusted range, taking

into account the unserved Community Continement, would be approximately 6-12 months.

 

 

 

 

 

 

 

15. Oflicial Detention Adjustment {H §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:02-CR-204l7 was distributed by faX, mail, or direct printing on
lune 8, 2005 to the parties listed

 

 

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Honorable Samuel Mays
US DISTRICT COURT

